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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                PLAINTIFF

                 v.            No. 5:13-cr-50079-006

     MIGUEL ANGEL LANDEROS-ESTRADA                                           DEFENDANT


                                        O R D E R

           Now   on   this    29th   day     of    October    2013,    comes    on   for

     consideration the Magistrate Judge's Report and Recommendation

     (document #88), filed on October 22, 2013, to which the parties

     have waived the right to object. The Court has reviewed the Report

     and Recommendation and, being well and sufficiently advised, finds

     that it is proper and should be adopted in its entirety.

           IT IS THEREFORE ORDERED that the Magistrate Judge's Report

     and Recommendation (document #88) is adopted in toto.

           IT IS FURTHER ORDERED that, for the reasons stated in the

     Report and Recommendation, the defendant's guilty plea is hereby

     accepted, and the written plea agreement between the parties is

     tentatively approved, subject to final approval at sentencing.

           IT IS SO ORDERED.



                                                   /s/ Jimm Larry Hendren
                                                  JIMM LARRY HENDREN
                                                  UNITED STATES DISTRICT JUDGE
